                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division


 IN RE: INTERIOR MOLDED DOORS                       Lead Civil Action No. 3: 18-cv-00718-JAG
 ANTITRUST LITIGATION



 IN RE: INTERIOR MOLDED DOORS                       Lead Civil Action No. 3: 18-cv-00850-JAG
 INDIRECT PURCHASER ANTITRUST
 LITIGATION



                                            OPINION

       In these consolidated class actions, two groups of plaintiffs contend that America's leading

manufacturers of interior molded doors unlawfully conspired to fix prices. The first group of

plaintiffs-the direct purchaser plaintiffs-bought interior molded doors directly from the

defendants, Masonite Corporation and JELD-WEN, Inc. The direct purchaser plaintiffs seek

damages under the Sherman Act for the defendants' alleged anticompetitive conduct. The second

group of plaintiffs-the indirect purchaser plaintiffs-bought interior molded doors indirectly

from the defendants through distributors. The indirect purchaser plaintiffs seek injunctive relief

under the Sherman Act and damages under the laws of thirty-nine states. The defendants have

moved to dismiss both complaints 1 for failure to state a claim.

       Because the direct and indirect purchaser plaintiffs sufficiently allege that the defendants

conspired to fix prices, the Court will deny the motion to dismiss for failure to state a claim as to




1
   The operative complaint in the 3:18-cv-718 action is the Second Amended Consolidated
Complaint. (Dk. No. 119, No. 3:18-cv-718.) The operative complaint in the 3:18-cv-850 action
is the Consolidated Class Action Complaint. (Dk. No. 56, No. 3:18-cv-850.) The Court will refer
to both operative complaints collectively as "the complaints."
the Sherman Act. Some of the indirect purchaser plaintiffs' claims arising under state law,

however, fall short in various respects. Accordingly, the Court will grant in part the motions to

dismiss. In this Opinion, the Court will address each claim in tum.

                         I. FACTS ALLEGED IN THE COMPLAINTS

       Most American homes contain interior molded doors ("IMDs"), which separate interior

rooms, hallways, and closets. Manufacturers produce IMDs "by sandwiching a wood frame and a

hollow or solid core between two doorskins composed of a high-density fibrous mat and formed

into a raised panel design." (Dk. No. 119, 3:18-cv-718, at       lr 1.) Doorskins comprise the most
important part of IMDs, representing up to 70 percent of the overall cost of IMDs.

        JELD-WEN and Masonite are the two largest manufacturers ofIMDs in the United States.

In 2012, JELD-WEN acquired another manufacturer of IMDs and doorskins, CraftMaster

International, Inc. ("CMI"). After the acquisition, JELD-WEN and Masonite became the only two

manufacturers of doorskins in the United States and controlled 85 percent of the national IMD

market. Because the manufacturers comprising the other 15 percent of the IMD market did not

make doorskins, they had to buy doorskins from the defendants, who had aggressively competed

for the business of those manufacturers in the past. In 2014, Masonite abruptly stopped selling

doorskins to third parties, making JELD-WEN the sole supplier of the largest component of IMDs.

        To plausibly plead a conspiracy to fix prices, the plaintiffs must plead facts showing that

the defendants (1) increased prices in a parallel fashion, and (2) entered into an illegal agreement

to fix prices. The Court sets forth the plaintiffs' allegations in that order.

                                     A. Parallel Price Increases

        After JELD-WEN acquired CMI, JELD-WEN and Masonite began to increase their prices

of IMDs in near synchronization-either simultaneously or in brief succession of each other-



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beginning in late 2012. Nine different times between 2012 and 2018, the defendants increased the

price ofIMDs in similar percentage increments. For example, in late 2013, Masonite increased its

prices by 5 percent. Seven days later, Jeld-Wen increased its prices by 4 percent. The last alleged

price increase came from both companies on the same day: October 8, 2018. Both JELD-WEN

and Masonite announced that the prices would take effect later in the year within two days of each

other.

                                 B. Facts S/,owing an Agreement

         The plaintiffs set forth the following allegations to show that the defendants entered into

an illegal agreement to fix prices.

                        1. Trade Association Meetings and Revolving Door

         Executives from JELD-WEN and Masonite regularly attend the same trade association

meetings, trade shows, and investor conferences. Representatives from the two companies have

both attended at least five separate annual trade shows and made presentations at three investor

conferences. Additionally, executives from JELD-WEN and Masonite alternate between working

for each company, resulting in a "revolving door" between the two competitors. The industry is a

"highly inbred, 'good old boy' network that is comprised of the same players who have been

working together since the 1980s." (Id. at Ir 79.)

                                      2. Features ofthe /MD Market

         Various features of the IMD market make it ripe for price fixing. Because the IMD market

has only two large producers, each player knows the capabilities and capacity of the rest of the

market. The IMD market has high barriers to entry: any new company wishing to enter the market

must not only capture customers currently purchasing IMDs from established suppliers, but also




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must invest tens of millions of dollars to construct an IMD plant. Those barriers allow the current

players to ignore the threat of emerging competitors.

       Because home builders, renovators, and other buyers all need IMDs and will keep buying

them regardless of the price, demand for IMDs is "inelastic." Manufacturers are thus able to

continue increasing prices without decreasing demand.

       Buyers can easily replace one model of IMD with another.                 Because IMDs are

interchangeable products, manufacturers must aggressively compete over price as the only

differentiating feature. Manufacturers, therefore, have a greater incentive to fix prices.

                                  3. History ofAntitrust Violations

       The interior door industry has a history of violating antitrust laws. In the 1990s, several

predecessors of the defendants and their subsidiaries pied guilty to multiple allegations of price

fixing and paid substantial fines to the government.

                            4. Price Increases Despite Falling Input Costs

       In letters to customers, Masonite and JELD-WEN often blamed their price increases on

rising input costs. Those representations were materially false, as input costs were decreasing and

inflation rates were low.

                         5. Knowledge ofJELD-WEN 's Pricing Decisions

       A Masonite vice president often returned to Masonite from days or weeks of travel having

obtained knowledge of JELD-WEN' s intended price increases.            Decisions to raise prices at

Masonite occurred shortly after that vice president returned. 2




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 Only the direct purchaser plaintiffs make this allegation. (See Dk. No. 119, 3: 18-cv-718, at fr 90.)
At oral argument, counsel for the plaintiffs said that Dale Mayfield is the vice president and has
worked for Masonite since 2012. (Hr'g Tr. 23:21-25, June 11, 2019; Dk. No. 138, 3:18-cv-718.)
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                                   6. Masonite 's Pricing Activity

       Masonite executives set prices well above the levels that internal analyses showed a

competitive market could support. Masonite never undercut JELD-WEN' s pricing, despite having

the necessary profit margins to lower prices and capture a larger market share.

                         7. Masonite 's Decision to Stop Selling Doorskins

       In 2014, Masonite stopped selling doorskins to independent IMD manufacturers despite its

continued capacity to sell and its previous aggressive marketing of doorskins. Masonite's actions

were against its economic interests and helped JELD-WEN corner the doorskins market. Around

that same time, JELD-WEN implemented a new strategy emphasizing price optimization.

       After Masonite announced that it would stop selling doorskins to independent IMD

manufacturers, JELD-WEN-the only remaining doorskins seller-began raising its prices for

doorskins.

                II. THESE PROCEEDINGS AND RELATED LITIGATION

       In response to JELD-WEN' s price hikes, an IMD manufacturer, Steves & Sons, Inc., sued

JELD-WEN, alleging that the company's 2012 acquisition ofCMI violated§ 7 of the Clayton Act

because it substantially decreased competition in the doorskins market. 3 In February, 2018, a jury

returned a verdict in Steves' favor.

       Following the Steves verdict, the direct and indirect purchaser plaintiffs followed suit with

these claims. First, the direct purchaser plaintiffs4 allege that Masonite and JELD-WEN conspired

to adopt uniform price increases for IMDs in violation of§ 1 of the Sherman Act and fraudulently



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  Steves & Sons, Inc. v. JELD-WEN, Inc., Civil Action No. 3:16-cv-00545-REP. Section 7 of the
Clayton Act prohibits companies from acquiring assets that would create a monopoly and thus
would harm competition. See 15 U.S.C. § 18.
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  The remaining named direct purchaser plaintiffs are Grubb Lumber Company, Inc. ("Grubb"),
and Philadelphia Reserve Supply Company ("PRSCO").

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concealed their conspiracy from the plaintiffs. Soon thereafter, the indirect purchaser plaintiffs

sued the defendants. The indirect purchaser plaintiffs also allege that the defendants violated § 1

of the Sherman Act, but only request injunctive relief. The indirect purchaser plaintiffs seek

damages based on alleged violations of state antitrust, consumer protection, and unjust enrichment

laws.

        The defendants have moved to dismiss both complaints for failure to state a claim, arguing

that the plaintiffs have failed to plead sufficient facts showing that the defendants conspired to fix

prices in the IMD market. The defendants also lodge numerous challenges to the plaintiffs' state

law claims, which the Court will address in turn.

                                        III. DISCUSSION5

        Because virtually all the plaintiffs' claims rise and fall on the sufficiency of their federal

antitrust allegations, the Court first addresses the federal antitrust claim. The Court then considers

the defendants' sundry challenges to the plaintiffs' state law claims.

                                    A. Federal Antitrust Claim

        First, the defendants argue that the plaintiffs do not plead a plausible conspiracy claim

under the Sherman Act. The defendants also say that the plaintiffs cannot invoke the doctrine of




5
  A Rule 12(b)(6) motion gauges the sufficiency of a complaint without resolving any factual
discrepancies or testing the merits of the claims. Republican Party of NC. v. Martin, 980 F.2d
943, 952 (4th Cir. 1992). In considering the motion, a court must accept all allegations in the
complaint as true and must draw all reasonable inferences in favor of the plaintiff. Nemet
Chevrolet, Ltd. v. Consumeraffairs.com, Inc., 591 F.3d 250, 253 (4th Cir. 2009) (citing Edwards
v. City of Goldsboro, 178 F .3d 231, 244 (4th Cir. 1999)). The principle that a court must accept
all allegations as true, however, does not apply to legal conclusions. Ashcroft v. Iqbal, 556 U.S.
662, 678 (2009). To survive a Rule 12(b)(6) motion to dismiss, a complaint must state facts that,
when accepted as true, state a claim to relief that is plausible on its face. Id "A claim has facial
plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable
inference that the defendant is liable for the misconduct alleged." Id. (citing Bell At/. Corp. v.
Twombly, 550 U.S. 544, 556 (2007)).
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fraudulent concealment to toll the statute of limitations. Finally, the defendants contend that the

indirect purchaser plaintiffs lack antitrust standing to seek injunctive relief under the Sherman Act.

                           1. Plausibility Under§ 1 ofthe Sherman Act

       To state a claim under § 1 of the Sherman Act, "a plaintiff must [show] (I) a contract,

combination, or conspiracy; (2) that imposed an unreasonable restraint on trade." NC. State Bd.

of Dental Exam 'rs v. FTC, 717 F.3d 359, 371 (4th Cir. 2013). The parties dispute whether the

plaintiffs sufficiently allege a "contract, combination, or conspiracy." Id.

       To show that the defendants conspired to fix prices, the plaintiffs must allege facts

suggesting that the defendants "specifically made 'a conscious commitment to a common scheme

designed to achieve an unlawful objective."' SD3, LLC v. Black & Decker (US.) Inc., 801 F.3d

412, 424 (4th Cir. 2015) (quoting Monsanto Co. v. Spray-Rite Serv. Corp., 465 U.S. 752, 764

(1984)). Here, the plaintiffs do not allege any direct evidence of a conspiracy or agreement. See

Am. Chiropractic Ass 'n v. Trigon Healthcare, Inc., 367 F .3d 212, 226 (4th Cir. 2004) (noting that

direct evidence of conspiracy, such as a "smoking gun," is "extremely rare in antitrust cases").

        Instead, the plaintiffs contend that the defendants engaged in parallel conduct that suggests

an agreement. But to proceed on charges of parallel conduct, antitrust plaintiffs must allege

enough additional facts "to raise a reasonable expectation that discovery will reveal evidence of

[an] illegal agreement." Twombly, 550 U.S. at 557. Put another way, "[f]or a§ 1 claim to survive,

... a plaintiff must plead parallel conduct and something 'more.'" SD3, 801 F.3d at 424 (quoting

Twombly, 550 U.S. at 557) ("[P]arallel conduct, standing alone, does not establish the required

agreement because it is equally consistent with lawful conduct."). Courts refer to the "more"

required in the pleadings as "plus factors." Id. Courts evaluate plus factors holistically and weigh

them together with the allegations of parallel conduct. See id. at 424-25 (declining "to parse each



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'plus factor' individually"). Allegations that alone seem neutral "can take on a different shape

when considered in conjunction with other surrounding circumstances." Id.

        Plus factors consist of circumstantial or contextual evidence that substantiates an

otherwise speculative conspiracy claim. Robertson v. Sea Pines Real Estate Cos., 679 F.3d 278,

289 (4th Cir. 2012) (citing Twombly, 550 U.S. at 557). The circumstantial evidence need not

"compel an inference of conspiracy," but need only render the allegations plausible. In re Text

Messaging Antitrust Litig., 630 F.3d 622,629 (7th Cir. 2010) (Posner, J.).

       In Twombly, the plaintiffs set forth extensive allegations of parallel behavior among the

nation's phone service providers, but made only cursory allegations regarding the nature of the

market, the history of the defendants' attendance at trade conventions, and suspicious statements

made by company executives. 550 U.S. at 564-65. The plaintiffs in Twombly "rest[ed] their§ 1

claim on descriptions of parallel conduct and not on any independent allegation of actual

agreement." Id. at 564. The complaint lacked enough plus factors tending to show an illegal

agreement, so the plaintiffs failed to "nudge" their conspiracy allegation "from conceivable to

plausible." Id. at 570.

       In contrast, the plaintiff in SD3 alleged specific facts about the defendants' agreement and

conspiracy. 801 F.3d at 429. The plaintiff, an emerging table-saw manufacturer, sued a group of

established table-saw manufacturers for conspiring to keep it out of the market. The plaintiff

identified the exact time, place, and manner of the agreement, most of the individuals directly

involved, and the procedures used to seal the agreement. Because the complaint set forth "parallel

conduct in conjunction with 'circumstance[s] pointing toward a meeting of the minds,"' the Fourth

Circuit held that the plaintiff plausibly alleged a conspiracy claim under the Sherman Act. Id. at

434 (quoting Twombly, 801 F.3d at 557).



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       In Text Messaging, the Seventh Circuit confronted a set of plus factors similar to those in

our cases. 630 F.3d at 628. The plaintiffs in Text Messaging alleged that a group of cell phone

companies met at trade shows to fix prices in the market for text messaging. The plaintiffs made

allegations about the concentrated nature of the text messaging market as highly concentrated and

asserted that the defendants increased prices despite falling input costs. The Seventh Circuit noted

that "[w]hat is missing ... is the smoking gun," direct evidence of conspiracy typically rare in

antitrust cases. Id. at 629. The court, however, explained that it "need not decide whether the

circumstantial evidence ... is sufficient to compel an inference of conspiracy." Id. The court thus

held that the complaint plausibly alleged a Sherman Act conspiracy claim, noting that"[ d]iscovery

may reveal the smoking gun or bring to light additional circumstantial evidence that further tilts

the balance in favor of liability." Id.

        In these cases, the plaintiffs rely on seven plus factors: (1) Masonite and JELD-WEN

attended the same trade group meetings and investor conventions and often swapped executives;

(2) the market for IMDs is highly concentrated, contains high barriers to entry, and deals with an

inelastic, interchangeable good; (3) IMD manufacturers have violated antitrust laws in the past;

(4) Masonite and JELD-WEN increased prices despite falling input costs; (5) Masonite made

pricing decisions after a certain vice president learned of JELD-WEN' s prices before they were

public; (6) Masonite engaged in irrational pricing activity; and (7) Masonite stopped selling

standalone doorskins to outside IMD manufacturers to yield the market to JELD-WEN.

        First, the plaintiffs allege that the defendants attended the same trade group meetings,

conventions, and conferences. They also describe a revolving door for corporate executives

between Masonite and JELD-WEN.            "Allegations of communications and meetings among

conspirators can support an inference of agreement because they provide the means and



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opportunity to conspire." SD3, 801 F.3d at 432; see also Evergreen Partnering Grp., Inc. v. Pactiv

Corp., 720 F.3d 33, 49 (1st Cir. 2013). The plaintiffs' allegations here mirror the plaintiffs'

assertions in Text Messaging, in which the plaintiffs alleged that trade association meetings gave

cell phone companies the opportunity to conspire. See Text Messaging, 630 F.3d at 628 (noting

that attending association meetings is not "illegal in itself," but "facilitate[s] price fixing that would

be difficult for the authorities to detect"). These two things-the defendants' mutual attendance

of at least eight separate annual trade association meetings and their history of swapping

executives-make it more plausible that the alleged conspiracy spawned from meetings at trade

shows or conventions. See SD3, 801 F.3d at 425 ("Actions that might seem otherwise neutral in

isolation can take on a different shape when considered in conjunction with other surrounding

circumstances.").

        Second, the IMO market is highly concentrated and has high barriers to entry. IMOs are

also inelastic (increasing their price does not significantly change demand) and interchangeable

(any IMO can easily replace another IMO). In highly concentrated markets, fewer minds must

meet to control the market. When products are inelastic, higher prices do not create lower demand.

And when products are interchangeable, price is the only differentiating feature. The structure of

the IMO market makes it susceptible to a price-fixing conspiracy. Because "industry structure that

facilitates collusion constitutes supporting evidence of collusion," id at 432, the nature of the IMO

market qualifies as a significant plus factor. See Text Messaging, 630 F.3d at 627-28.

        Moreover, concentrated markets enable firms "to agree on prices and to be able to detect

'cheating' (underselling the agreed price by a member of the group) without having to create

elaborate mechanisms, such as an exclusive sales agency, that could not escape discovery by the

antitrust authorities." Id Because JELO-WEN and Masonite control 85 percent of the market,



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each firm can easily detect "cheating" simply by observing the other firm's behavior-enabling

them to carry out a conspiracy without creating any "smoking gun" evidence.

       The third and fourth plus factors concern the history of antitrust violations in the IMD

industry and the defendants' false explanation for their price increases. In letters to customers, the

defendants blamed their price increases on rising input costs.          In reality, input costs were

decreasing and inflation rates were low. The defendants thus tried to conceal their true motives

for raising prices-whatever those motives may have been. This behavior becomes especially

troubling in light of the history of antitrust violations in the industry. The defendants' deception

"suggest[s] that [they] knew their actions 'would attract antitrust scrutiny."' SD3, 801 F.3d at 432

(quoting Starr v. Sony BMG Music Entm 't, 592 F.3d 314, 324 (2d Cir. 2010)). The defendants'

actions also mirror the conduct of the defendants in Text Messaging, who similarly raised prices

while their input costs simultaneously dropped.

       The fifth plus factor concerns a Masonite vice president who returned from business trips

with advanced knowledge of JELD-WEN' s impending price increases. Shortly after his return,

Masonite also announced a price increase. This alleged advanced knowledge of JELD-WEN' s

price increases is precisely the sort of circumstantial or contextual evidence that creates a plausible

inference of a conspiracy. See Robertson, 679 F.3d at 289. The defendants argue that this plus

factor lacks in specifics. But "specific facts are not necessary" to plead an antitrust conspiracy.

Erickson v. Pardus, 551 U.S. 89, 93 (2007). Direct evidence of a conspiracy is rarely available to

antitrust plaintiffs, so they must rely on circumstantial evidence. See Text Messaging, 630 F.3d at

629; Robertson, 679 F.3d at 289 ("Conspiracies are often tacit or unwritten ... , thus necessitating

resort to circumstantial evidence.").




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       The sixth plus factor concerns Masonite's pricing activity. One would expect

manufacturers of interchangeable products to engage in competitive pricing. Instead, Masonite

not only raised prices, but also raised them substantially above what its own economic models

predicted would be a competitive price. Masonite also never undercut JELD-WEN' s perpetually

increasing prices, even though doing so would have captured a larger share of the market. Thus,

Masonite behaved in a manner inconsistent with the expected behavior of a competitive actor.

       Finally, the plaintiffs allege that Masonite stopped selling doorskins to outside

manufacturers despite its continued capacity to produce doorskins.           The plaintiffs say that

Masonite's decision makes no business sense absent an illegal agreement. The defendants provide

an alternative explanation: that Masonite may have left the doorskins market to limit competition

in the downstream IMO market. But Masonite also may have expected JELD-WEN to sell even

more doorskins to outside manufacturers, continuing downstream competition and needlessly

reducing Masonite's overall market share. Moreover, if Masonite needed more doorskins for its

own IMD factories, it could have limited the number of doorskins it sold to independent

manufacturers instead of eliminating those sales altogether.

       Thus, Masonite's decision to stop selling doorskins to outside manufacturers constitutes

"evidence that [it] acted contrary to its interests." In re Flat Glass Antitrust Litig., 385 F.3d 350,

(3d Cir. 2004). The circumstances surrounding Masonite's exit from the doorskins market make

the plaintiffs' allegation of a conspiracy more plausible. See SD3, 801 F.3d at 430.

       The defendants try to disaggregate the various plus factors, knocking down each individual

allegation as insufficient to show that the defendants conspired to fix prices. But the Court will

not "parse each 'plus factor' individually and ask whether that factor, standing alone, would be




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sufficient to provide the 'more."' Id at 425. Taken together, the plus factors in these cases render

plausible the plaintiffs' allegation that the defendants entered into an illegal agreement.

       The plaintiffs set forth a combination of opportunity, market structure, and pricing plus

factors similar to the facts that the Seventh Circuit in Text Messaging deemed sufficient to survive

a motion to dismiss. 630 F .3d at 627-28. They also allege additional plus factors involving history

of antitrust violations, misrepresentation, insider knowledge, and irrational business decisions.

Here, as in SD3, the plaintiffs describe parallel conduct and "further circumstances pointing toward

a meeting of the minds." 801 F.3d at 430. The plaintiffs' detailed allegations "allay[ ] the

suspicion that the plaintiff[ s] [are] merely speculating a conspiracy into existence from

coincidentally similar action," which "after all, was Twombly's principal concern." Id.

       To be sure, the plaintiffs have not proven that the defendants made any agreement to fix

prices in the IMD market. But their allegations of parallel conduct and plus factors are sufficient

to survive a motion to dismiss. Accordingly, the Court will deny the motion to dismiss the

plaintiffs' claims for failure to state a claim under § 1 of the Sherman Act. 6

                                      2. Statute ofLimitations

       Under the Sherman Act, a plaintiff must seek damages for violations "within four years

after the cause of action accrued." 15 U.S.C. § 15b. In cases involving a price-fixing conspiracy,

"each overt act that is part of the violation and that injures the plaintiff ... starts the statutory

period running again, regardless of the plaintiff's knowledge of the alleged illegality at much

earlier times." Klehr v. A.O. Smith Corp., 521 U.S. 179, 189 (1997) (internal quotation marks




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  Because the Court will deny the motion to dismiss the Sherman Act claim for failure to state a
claim, the Court also will deny the motion to dismiss the related state antitrust claims on the same
ground.
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omitted). A plaintiff generally cannot "recover for the injury caused by old overt acts outside the

limitations period." Id.

       Here, the plaintiffs invoke the doctrine of fraudulent concealment to get around the four-

year limitations period. The doctrine tolls the limitations period until a plaintiff discovers the

fraud. See Bailey v. Glover, 88 U.S. 342, 349 (1874). Courts read the doctrine "into every federal

statute of limitation," Holmberg v. Armbrecht, 327 U.S. 392, 397 (1946), including antitrust laws.

Supermarket of Marlinton, Inc. v. Meadow Gold Dairies, Inc., 71 F.3d 119, 122 (4th Cir. 1995)

(applying fraudulent concealment to§ 1 of the Sherman Act).

       A plaintiff must plead three elements to invoke fraudulent concealment: "( 1) the party

pleading the statute of limitations fraudulently concealed facts that are the basis of the plaintiffs

claim, and (2) the plaintiff failed to discover those facts within the statutory period, despite (3) the

exercise of due diligence." Id. "Inquiry notice, which charges a person to investigate when the

information at hand would have prompted a reasonable person to do so, touches on the diligence

requirement of part three." Go Comput. v. Microsoft Corp., 508 F .3d 170, 178 (4th Cir. 2007).

        Here, the plaintiffs do not allege that they engaged in any inquiry to satisfy the due

diligence prong. 7 Instead, the plaintiffs say that they "had no reason to investigate" after the

defendants sent letters to their customers falsely citing rising input costs for price increases. (See

Dk. No. 119, at fr 39, 3:18-cv-718.) They contend that no reasonable investigation would have led

them to discover the conspiracy between Masonite and Jeld-Wen before the Steves litigation,

excusing them from exercising diligence.




7
 The defendants also argue (1) that the plaintiffs failed to show that the defendants fraudulently
concealed any relevant facts, and (2) even if the plaintiffs pleaded the requisite fraud, they did not
do so with particularity. Because the plaintiffs failed to satisfy the diligence requirement, the Court
need not reach the defendants' additional arguments.
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       To support their argument that they need not show diligence, the plaintiffs rely on the

Fourth Circuit's decision in Supermarket ofMarlinton. In that case, the Fourth Circuit held that a

plaintiff can satisfy the due diligence prong "without demonstrating that it engaged in any specific

inquiry." 71 F.3d at 128. The court, however, later clarified the scope of that holding: "nothing

in Supermarket of Marlinton excuses a negligent plaintiff from the diligence requirement-not

even if a fraud is allegedly well disguised." Microsoft, 508 F.3d at 179. Supermarket ofMarlinton

does not categorically excuse plaintiffs from satisfying the diligence prong.

       Instead, the diligence requirement is triggered when a plaintiff is on inquiry notice of its

claim-when a plaintiff "knows of a pattern of particular actions that a defendant has taken against

[the plaintiff], though the pattern's precise scope might be unclear and its exact legal ramifications

uncertain." Id. at 179. Beginning in late 2012, the defendants sent multiple letters to customers

falsely blaming price increases on rising input costs. At that time, the IMD industry was highly

concentrated between JELD-WEN and Masonite. The industry also had a history of violating

antitrust laws.    The defendants' repeated false statements coupled with the surrounding

circumstances of the industry at least created the "evidence of the possibility of fraud," id., such

that it put the plaintiffs on inquiry notice of their claims. Cf SD3 II LLC v. Black & Decker (US.)

Inc., 888 F.3d 98, 116 (4th Cir. 2018) (Wynn, J., concurring) (noting that a plaintiff is on "actual

notice" when he "plead[s] the factual allegations necessary to withstand a motion to dismiss").

"Once on inquiry notice, the plaintiff must take reasonable steps to discover the information

necessary to establish actual notice." Id. at 113 (majority opinion).

        Because the plaintiffs failed to plead that they conducted any inquiry to satisfy the diligence

prong, they cannot invoke the doctrine of fraudulent concealment. Indeed, the plaintiffs "cannot

simply ignore the diligence requirement and later claim the alleged fraud was 'well-disguised.'"



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Id. at 113 (quoting Microsoft, 508 F.3d at 179). The Court, therefore, will dismiss with prejudice

the Sherman Act claim for damages for sales that occurred before four years from the date that the

plaintiffs filed their initial complaint.

                                            3. Antitrust Standing

        An antitrust plaintiff "must go beyond a showing that it meets the Article III standing

requirements" and additionally show "antitrust standing. " 8 Novell, Inc. v. Microsoft Corp., 505

F.3d 302,310 (4th Cir. 2007). Although all antitrust violations cause "ripples of harm" throughout

the economy, "there is a point beyond which the wrongdoer should not be held liable." Assoc.

Gen. Contractors of Cal., Inc. v. Cal. State Council of Carpenters (AGC), 459 U.S. 519, 535

( 1983 ). Antitrust standing determines where this point lies. Here, the defendants argue that the

indirect purchaser plaintiffs lack antitrust standing to pursue their claims for equitable relief under

federal antitrust law. 9

        In Kloth v. Microsoft Corp., 444 F. 3d 312, 323 (4th Cir. 2006), the Fourth Circuit distilled

the Supreme Court's holding inAGC to the following five factors:

        ( 1) the causal connection between an antitrust violation and harm to the plaintiffs,
        and whether that harm was intended; (2) whether the harm was of a type that
        Congress sought to redress in providing a private remedy for violations of the
        antitrust laws; (3) the directness of the alleged injury; (4) the existence of more
        direct victims of the alleged antitrust injury; and (5) problems of identifying
        damages and apportioning them among those directly and indirectly harmed.


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  In Illinois Brick Co. v. Illinois, 431 U.S. 720 (1977), the Supreme Court held that a plaintiff who
indirectly purchased a product from a defendant may not recover damages under federal antitrust
law. The Supreme Court has not decided whether the Illinois Brick bar applies to equitable relief.
See Apple, Inc. v. Pepper, 139 S. Ct. 1514, 1520 n.l (2019) ("Illinois Brick did not address
injunctive relief, and we likewise do not address injunctive relief in this case."). The Fourth
Circuit, however, has held that Illinois Brick "bars only compensatory damages relief and does not
apply to injunctive relief." Dickson v. Microsoft Corp., 309 F.3d 193, 213 n.24 (4th Cir. 2002).
Here, the indirect purchaser plaintiffs only seek equitable relief and not damages under federal
law, so the Illinois Brick bar does not apply.
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  The defendants also challenge the indirect purchaser plaintiffs' antitrust standing as to their state
claims, which the Court addresses below.
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Novell, 505 F.3d at 311 (citing Kloth, 444 F.3d at 324). The first two factors concern whether a

plaintiff alleges an "antitrust injury," and the latter three factors "focus on the directness or

remoteness" of the antitrust injury. Id

       The latter three A GC factors ensure that "the most direct victims of ... anticompetitive

conduct" obtain relief and prevent multiple lawsuits. Id. at 317. Equitable relief, however, "raises

no threat of multiple lawsuits or duplicative recoveries." Cargill, Inc. v. Monfort of Colo., Inc.,

479 U.S. 104, 111 n.6 (1986). Indeed, "one injunction is as effective as 100." Hawaii v. Standard

Oil Co., 405 U.S. 251, 261 ( 1972). In other words, injunctive relief vindicates the rights of all

victims equally. Accordingly, the Court will focus on the first two AGC factors in analyzing the

indirect purchaser plaintiffs' claim for injunctive relief under the Sherman Act.

       As a threshold matter, the Court first considers the defendants' argument that the indirect

purchaser plaintiffs do not constitute "consumer[s] or competitor[s] in the relevant market."

Novell, 505 F.3d at 311 n.19. In Novell, the Fourth Circuit declined to adopt a bright line

"consumer or competitor" rule, holding that the relevant inquiry is simply whether the plaintiffs

suffered "an antitrust injury." Id. at 311-12. Accordingly, whether the indirect purchaser plaintiffs

qualify as consumers in the relevant market touches on the first two A GC factors.

       The plaintiff in Novell, a software company, alleged that Microsoft limited its access to

information about a new operating system. Id. at 316. The software company argued that it could

not compete in the market for software products against Microsoft without having access to the

information about the new operating system. Thus, the alleged harm occurred in the operating

system market-not the software market. Even though the software company was not a consumer

or competitor in the operating system market, the court deemed the "causal link" between the

antitrust violation and the harm to the software company "straightforward." Id.


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       Here, the indirect purchaser plaintiffs allege that they "indirectly purchased one or more

[IMDs]." (Dk. No. 56, at 7; No. 3:18-cv-850.) The complaint, however, does not explain whether

the plaintiffs purchased an IMD in the relevant market, resulting in two possible interpretations of

"indirect purchaser." An "indirect purchaser" could mean any purchaser who bought a standalone

IMD indirectly from distributors or home supply outlets (the "standalone indirect purchasers"). 10

Alternatively, an "indirect purchaser" could mean any purchaser who bought an IMD indirectly as

a component of a larger good, such as a house (the "component indirect purchasers"). 11

       First, consider standalone indirect purchasers. Standalone indirect purchasers qualify as

consumers in the relevant market (the IMD market) because they bought IMDs, which are highly

interchangeable. See Brown Shoe, 370 U.S. at 325. The causal connection between the alleged

antitrust violation and the harm they suffered is thus "straightforward." Novell, 505 F.3d at 316.

The defendants allegedly conspired to fix the price of IMDs, and the plaintiffs indirectly bought

those same IMDs in the marketplace. The defendants charged inflated prices, resulting in harm to

the standalone indirect purchasers who paid more for the IMDs they purchased. The harm that the

standalone indirect purchasers suffered is also the type of harm that Congress intended to address

through antitrust laws. Congress intended antitrust laws to protect "competition, not competitors."




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   The defendants further distinguish between two groups of standalone indirect purchasers: those
who bought IMDs for their own use (such as a homeowner) and those who bought IMDs to install
for someone else's use (such as a contractor). For example, homeowners buy IMDs to install in
their own home, whereas contractors buy IMDs to install in someone else's home for a fee or as
part of a larger construction project. The defendants' distinction is one without much difference.
Because the homeowner and the contractor bought standalone IMDs from distributors, both
suffered the same antitrust injury and are consumers in the relevant market.
11
   At the hearing on the motion to dismiss, counsel for the plaintiffs adopted the first and more
narrow interpretation: that an "indirect purchaser" means a standalone indirect purchaser-not a
component indirect purchaser. (See Hr'g Tr. 57:5-17.)
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Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S. 477, 488 (1977). Standalone indirect

purchasers have antitrust standing to seek injunctive relief under the Sherman Act.

       Second, consider component indirect purchasers. Component indirect purchasers could

have bought all sorts of products that are not "reasonabl[y] interchangeab[le]" with IMDs. Brown

Shoe, 370 U.S. at 325 ("The outer boundaries of a product market are determined by the reasonable

interchangeability of use or the cross-elasticity of demand between the product itself and

substitutes for it."). A house, of course, is not a substitute good for an interior door. Whatever

larger good a component indirect purchaser might have bought, that good is not reasonably

interchangeable with an IMD. Component indirect purchasers lack antitrust standing to seek

injunctive relief under the Sherman Act.

       The Court, however, must draw all reasonable inferences in the plaintiffs' favor at this

stage. See Nemet, 591 F.3d at 253. Accordingly, the Court will construe the complaint to mean

that the plaintiffs seek relief only as to standalone indirect purchasers. Thus, the Court will deny

the motion to dismiss the plaintiffs' Sherman Act claim for lack of antitrust standing.

                                        B. State Law Claims

       The indirect purchaser plaintiffs assert ninety-two claims under the antitrust, consumer

protection, and unjust enrichment laws of thirty-nine states. The defendants have moved to dismiss

those claims on various grounds, arguing that the plaintiffs ( 1) lack Article III standing to invoke

the laws of states where no named plaintiff resides; (2) lack antitrust standing; (3) failed to comply

with the notice requirements of various states' antitrust laws; (4) did not plead their consumer

protection claims with particularity; (5) failed to comply with miscellaneous provisions under

various states' consumer protection laws; (6) cannot assert unjust enrichment claims to get around




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antitrust-related bars to recovery; (7) failed to plead specific elements of unjust enrichment; and

(8) cannot seek relief for claims outside the applicable statutes of limitations.

                                        1. Article Ill Standing

       "Under Article III, the Federal Judiciary is vested with the 'Power' to resolve not questions

and issues but 'Cases' or 'Controversies."' Ariz. Christian Sch. Tuition Org. v. Winn, 563 U.S.

125, 132 (2011). "To state a case or controversy under Article III, a plaintiff must establish

standing." Id. at 133. Specifically, a plaintiff must establish (1) injury in fact, (2) causation, and

(3) redressability. Lujan v. Defs. of Wildlife, 504 U.S. 555 (1992).

       Here, the defendants argue that the plaintiffs lack Article III standing to pursue their claims

under the laws of the twenty-five states where no named plaintiff resides.12 Courts are split

regarding the appropriate stage of a lawsuit to consider Article III standing in this context. See

generally Le v. Kohls Dep 't Stores, Inc., 160 F. Supp. 3d 1096, 1112-13 (E.D. Wis. 2016)

(collecting cases). Some courts view this question as "appropriately answered through the class

certification process." In re Grand Theft Auto Video Game Consumer Litig., No. 06-MD-1739,

2006 WL 3039993, at *3 (S.D.N.Y. Oct. 25, 2006); see also In re Asacol Antitrust Litig., 907 F.3d

42, 49 (1st Cir. 2018). Other courts have held "that a plaintiff must demonstrate standing for each

claim he seeks to press." In re Magnesium Oxide Antitrust Litig., Civ. No. 10-5943, 2011 WL

5008090, at *10 (D.N.J. Oct. 20, 2011) (quoting DaimlerChrysler Corp. v. Cuno, 547 U.S. 332,

335 (2006)) (addressing Article III standing on a motion to dismiss). For the reasons set forth




12
  The plaintiffs initially lacked named representatives in twenty-three states. After the defendants
moved to dismiss, the plaintiffs voluntarily dismissed Thomas J. Riley and Wally Bloss. Riley
was a resident of Massachusetts during the class period and purchased IMDs in New Hampshire.
Bloss was a resident of Missouri during the class period. Riley and Bloss were the only named
plaintiffs residing in or alleging harm in Missouri and New Hampshire. The plaintiffs have another
named representative from Massachusetts.
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below, the Court agrees with the defendants that standing is "a threshold issue that the Court must

address." Id.

       First, the Supreme Court's decisions in Amchem Products, Inc. v. Windsor, 521 U.S. 591,

612 (1997), and Ortiz v. Fibreboard Corp., 527 U.S. 815, 831 (1999), do not apply here. The

plaintiffs point out that in both cases, the Court described class certification as "logically

antecedent" to standing. Ortiz, 527 U.S. at 831 (quoting Amchem, 521 U.S. at 612). But those

cases involved the certification of global settlement classes in asbestos exposure litigation. Courts

have recognized the unique posture of Amchem and Ortiz. See, e.g., Easter v. Am. W Fin., 381

F.3d 948, 962 (9th Cir. 2004) (noting the "very specific situation of a mandatory global settlement

class" in Amchem and Ortiz and holding that those cases "[do] not require courts to consider class

certification before standing").

       Second, the Fourth Circuit has characterized standing as a "threshold, jurisdictional issue

[that] courts should attempt to resolve ... as soon as possible." Cent. Wesleyan Coll. v. WR.

Grace & Co., 6 F.3d 177, 188 (4th Cir. 1993). Specifically, in class actions, "Article III

requirements must be met 'at the time the complaint is filed, and at the time the class action is

certified.'" Id. (quoting Sosna v. Iowa, 419 U.S. 393, 402 (1975)).

       Third, "[t]he fundamental aspect of standing is that it focuses on the party seeking to get

his complaint before the federal court and not on issues he wishes to have adjudicated." Flast v.

Cohen, 382 U.S. 83, 99 (1968) (emphasis added). "The question is whether the person whose

standing is challenged is the proper party to request an adjudication of a particular issue and not

whether the issue itself is justiciable." Id. Class representatives must establish a claim between

themselves and the defendants and "not merely allege that 'injury has been suffered by other,




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unidentified members of the class to which they belong and which they purport to represent."'

Cent. Wesleyan, 6 F.3d at 188 (quoting Blum v. Yaretsky, 457 U.S. 991, 1001 n.13 (1982)).

       Finally, courts must determine whether "at least one named class representative has Article

III standing to raise each class subclaim." Wooden v. Bd. of Regents, 247 F.3d 1262, 1288 (11th

Cir. 2001) (emphasis added). "[A] claim cannot be asserted on behalf of a class unless at least one

named plaintiff has suffered the injury that gives rise to that claim." Id Thus, the standing analysis

must not only focus on each named plaintiff, but also on that plaintiffs right to assert the claim

under the specific law that grants relief. See Int 'l Primate Prot. League v. Adm 'rs of Tulane Educ.

Fund, 500 U.S. 72, 77 (1991) ("[S]tanding should be seen as a question of substantive law,

answerable by reference to the statutory ... provision whose protection is invoked.").

       In light of the above principles governing standing, the Court will address Article III

standing before class certification.      Indeed, Article III standing "determines the court's

fundamental power to even hear the suit." Rivera v. Wyeth-Ayerst Labs., 283 F.3d 315,319 (5th

Cir. 2002); see also, e.g., Krakauer v. Dish Network, LLC, 925 F.3d 643, 652 (4th Cir. 2019)

(addressing Article III standing before class certification "as is customary").

       Addressing Article III standing at this stage also promotes procedural fairness.           See

Magnesium Oxide, 2011 WL 5008090, at *10 ("Otherwise, a plaintiff could bring a class action

complaint under the laws of nearly every state in the Union without having to allege concrete,

particularized injuries relating to those states, thereby dragging defendants into expensive

nationwide class discovery, potentially without a good faith basis."). Other courts have reached

similar conclusions on this issue. See, e.g., In re Ductile Iron Pipe Fittings (DIPF) Indirect

Purchaser Antitrust Litig., Civ. No. 12-169, 2013 WL 5503308, at *12 (D.N.J. Oct. 2, 2013)




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("Amchem and Ortiz do not permit a court to defer [the standing] analysis when class certification

and standing issues are not presented simultaneously."). 13

       The plaintiffs cannot and do not assert that they suffered harm under many of the state laws

on which they rely. Accordingly, the Court will dismiss with prejudice the plaintiffs' claims for

lack of Article III standing under the laws of the states where no named plaintiff resides or has

suffered an injury. Those states include Alabama, Alaska, Colorado, Connecticut, the District of

Columbia, Hawaii, Idaho, Iowa, Kansas, Maine, Maryland, Missouri, Montana, Nebraska,

Nevada, New Hampshire, New Mexico, North Dakota, Rhode Island, South Dakota, Utah,

Vermont, Virginia, West Virginia, and Wisconsin.         The Court will address the defendants'

remaining arguments with respect to the plaintiffs' claims under the laws of Arizona, Arkansas,

California, Florida, Illinois, Massachusetts, Michigan, Minnesota, Mississippi, New York, North

Carolina, Oregon, South Carolina, and Tennessee.

                                        2. Antitrust Claims

       The plaintiffs' remaining state antitrust claims fall under the laws of Arizona, California,

Michigan, Minnesota, Mississippi, New York, North Carolina, Oregon, and Tennessee. The

defendants argue that (1) the plaintiffs lack antitrust standing under AGC, and (2) the plaintiffs

have failed to comply with various state notice provisions.



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   Courts have also compared the ratio between the number of states with and without named
plaintiff representatives. Here, only fourteen of the thirty-nine states have named plaintiff
representatives. See Jones v. Micron Tech., Inc., No. 18-cv-2518-JSW, 2019 WL 4232417, at *6
(N.D. Cal. Sept. 3, 2019) ("Given that only five of the twenty-five non-federal jurisdictions have
named plaintiff representatives, the Court is concerned that allowing unrepresented sister state
claims to proceed would subject Defendants to discovery in these additional states before Plaintiffs
have secured 'actual plaintiffs who clearly have standing and are willing and able to assert claims
under these state laws."' (quoting In re Carrier IQ, Inc., 78 F. Supp. 3d 1051, 1074 (N.D. Cal.
2015))). But see In re Zetia (Ezetimibe) Antitrust Litig., No. 2:18-md-2836, 2019 WL 1397228,
at *22-23 (E.D. Va. Feb. 6, 2019), report and recommendation adopted, 2019 WL 3761680, at
* 10 (Aug. 9, 2019) (declining to address Article III standing at the motion to dismiss stage).
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                                       a. Antitrust Standing

       The defendants argue that the plaintiffs lack antitrust standing under A GC to assert claims

for damages under various state antitrust laws. Because AGC is a federal standard, the Court must

first determine the appropriate test to apply when evaluating antitrust standing under state law.

       In Illinois Brick, the Supreme Court barred indirect purchaser plaintiffs from seeking

damages under federal antitrust law. 431 U.S. at 730-31. In the years following Illinois Brick,

state legislatures and courts across the country enacted "Illinois Brick repealer" statutes and

decisions, enabling indirect purchaser plaintiffs to bring antitrust claims under the laws of those

"repealer states." See In re Refrigerant Compressors Antitrust Litig., No. 2:09-md-02042, 2013

WL 1431756, at *32 (E.D. Mich. Apr. 9, 2013).

       The plaintiffs argue that "the very purpose of these statutes and high court decisions would

be defeated if a federal court applied AGC to bar indirect purchaser plaintiffs from bringing

claims." (Dk. No. 75, at 8, 3: l 8-cv-850). But Illinois Brick and AGC are "analytically distinct."

Illinois Brick, 431 U.S. at 728 n.7. "It is one thing to say that a state is willing to allow someone

other than a direct purchaser to have the opportunity to shoulder the burden of showing proximate

causation; it is quite another thing to say that the state has thrown both the direct-purchaser rule

and proximate causation out the window." Supreme Auto Transp., LLC v. Arce/or Mittal USA,

Inc., 902 F.3d 735, 744 (7th Cir. 2018).

       State supreme courts have acknowledged the distinction between Illinois Brick and

antitrust standing. See, e.g., Lorix v. Crompton Corp., 736 N.W.2d 619,630 (Minn. 2007) ("The

real difficulty lies in defining the outer limits of indirect purchaser standing in Minnesota . . . .

[T]here are injuries so remotely related to antitrust violations that courts simply cannot provide

relief."); Owens Corning v. R.J. Reynolds Tobacco Co., 868 So. 2d 331,344 (Miss. 2004) (finding



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indirect purchasers claims too remote to state a claim under Mississippi law). Although repealer

states have removed an absolute bar to recovery for indirect purchasers, those states do not

automatically grant standing to all indirect purchasers. The plaintiffs must still show that they are

"sufficiently connected to the violation propagating the[] 'ripples of harm."' Novell, 505 F.3d at

310.

        Accordingly, the Court must determine which antitrust standing test governs the remaining

state antitrust claims. "It is axiomatic that in determining state law a federal court must look first

and foremost to the law of the state's highest court." 14 Assicurazioni Generali, S.p.A. v. Neil, 160

F.3d 997, 1002 (4th Cir. 1998). "If the state's highest court does not provide an answer, then a

federal court must seek guidance from an intermediate state court." FDIC v. Rippy, 199 F.3d 301,

310 (4th Cir. 2015). "Decisions of the state's trial courts may also be considered to provide some

light upon the subject." Liberty Mut. Ins. Co. v. Triangle Indus., 957 F.2d 1153, 1156 (4th Cir.

1991 ). With these guiding principles in mind, the Court turns to the appropriate antitrust standing

test with respect to the plaintiffs' remaining state antitrust claims.

                       i. States Applying Alternative Antitrust Standing Tests

                                              Minnesota

        In Lorix, the Minnesota Supreme Court declined to apply AGC to Minnesota's antitrust

law. 736 N.W.2d at 627. Instead, the court held that "[s]tanding under Minnesota antitrust law

must be defined by some prudential limits informed by foreseeability, proximate cause,

remoteness, and relation of the injury to the purposes of the antitrust law." Id at 631. The plaintiff



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  If the state's highest court has not addressed the issue, federal courts must predict how the state's
highest court would rule. See Wells v. Liddy, 186 F.3d 505, 527-28 (4th Cir. 1999) (directing
federal courts to consider "canons of construction, restatements of the law, treatises, recent
pronouncements of general rules or policies by the state's highest court, well considered dicta, and
the state's trial court decisions").

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in Lorix alleged that she paid an increased price for car tires because of the defendants' conspiracy

to fix the price of rubber-processing chemicals. The court found that the plaintiff had antitrust

standing, reasoning that she "allege[d] that she is an end user of a consumer good whose price was

inflated by anticompetitive conduct earlier in the chain of manufacture." Id. The plaintiffs injury

thus fell "well within" Minnesota's "prudential limits" test for antitrust standing. Id.

       Here, the plaintiffs 15-those who bought IMDs indirectly from distributors and home

supply outlets-sustained an injury that is arguably more foreseeable and less remote than the

plaintiffs injury in Lorix. The plaintiffs bought IMDs in their unaltered form from distributors.

Because the plaintiffs fall within the "prudential limits" governing antitrust standing under

Minnesota law, id, the Court will deny the motion to dismiss the Minnesota antitrust claim.

                                             Mississippi

       In Owens Corning, the Supreme Court of Mississippi focused on whether the plaintiffs

sufficiently alleged an antitrust injury and the remoteness of the alleged injury. 868 So. 2d at 344.

The plaintiff, an asbestos company, sued a tobacco company under Mississippi's antitrust law,

alleging that the tobacco company conspired to conceal the harmful effects of smoking, which

resulted in costly lawsuits against the asbestos company filed by smokers. Id. at 336. The court

held that the asbestos company lacked antitrust standing, reasoning that its alleged injuries were

too remote and were not "injur[ies] of the type the antitrust laws were intended to prevent and that

flows from that which makes defendants' acts unlawful." Id. at 344.

       The concepts of "antitrust injury" and "remoteness" mirror the considerations underlying

AGC. Cf Novell, 505 F.3d at 311. As discussed above, see supra Part 111.A.3, the plaintiffs have




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  As explained above, see supra Part 111.A.3, the Court construes the complaint to mean that the
plaintiffs seek relief only as to standalone indirect purchasers.

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shown that they suffered an "antitrust injury" under the first two AGC factors. With respect to

"remoteness," the latter three AGC factors focus on the "directness or remoteness" of the antitrust

injury, so the Court will use those factors as a guide in analyzing "remoteness" under Mississippi's

antitrust standing test.

        The latter three AGC factors include "(3) the directness of the alleged injury; (4) the

existence of more direct victims of the alleged antitrust injury; and (5) problems of identifying

damages and apportioning them among those directly and indirectly harmed." Id

        Factors three and four mitigate the risk of duplicative damages.          Accordingly, "the

existence of an identifiable, more-directly harmed class of victims with the incentive to sue under

the antitrust laws weighs against granting standing to a more remote plaintiff." Id at 318. "If,

however, there is no more directly harmed party with the motivation to act ... the 'risk of

duplicative recoveries on the one hand, or the danger of complex apportionment of damages on

the other' is mitigated." Id. (quotingAGC, 459 U.S. at 543-44).

        Here, the plaintiffs bought IMDs from distributors, and thus are only one degree removed

from the defendants' sale of IMDs. If the plaintiffs' injuries are too "remote," then virtually no

indirect purchaser would ever have injuries sufficiently "direct" to have antitrust standing. Courts

have dismissed claims as too remote under the third and fourth A GC factors when a plaintiff

indirectly purchased a product as part of a bundle or as a component of a larger good. See, e.g., In

re Refrigerant, 2013 WL 1431756, at *12-13 (finding the plaintiffs' injury too remote and noting

that courts "have rejected a 'component theory' of antitrust standing"). The third and fourth factors

tilt in favor of granting antitrust standing.

        The fifth factor concerns the difficulty of identifying and apportioning damages. This

factor rises and falls with the directness of the injury. See Novell, 505 F.3d at 319. "Cases where



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this factor has been found to bar standing often involve potential plaintiffs indirectly injured by

the allegedly anticompetitive behavior, raising the specter of complex apportionment of damages

among, or duplicative recoveries by, direct and indirect victims of such conduct." Id Here, the

plaintiffs need only show what portion of the price of the IMDs they bought resulted from the

alleged conspiracy. Moreover, the direct and indirect purchasers assert distinct damages claims
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under federal and state law. See ARC America Corp., 490 U.S. at 104-05.

        The latter three AGC factors, which touch on "remoteness," weigh in favor of granting

antitrust standing. And because the plaintiffs also satisfy the "antitrust injury" considerations

under the first two A GC factors, the plaintiffs pass Mississippi's antitrust standing test. The Court,

therefore, will deny the motion to dismiss the Mississippi antitrust claim.

                                           North Carolina

        In Crouch v. Crompton Corp., a North Carolina trial court set forth a five-factor test for

antitrust standing, adapted from the AGC test. Nos. 02 CVS 4375, 03 CVS 2514, 2004 WL

2414027 (N.C. Super. Ct. Oct. 26, 2004). Those factors include (1) "[w]hether the plaintiff is a

consumer or competitor in the allegedly restrained market;" (2) "[t]he directness of the impact on

the plaintiff;" (3) "[w]hether there exist other indirect purchasers in the distribution chain who are



 16The fifth factor also touches on the "homeowner" versus "contractor" dispute. See supra Part
III.A.3. The defendants insist that including contractors as plaintiffs "adds a level of complexity"
to the antitrust standing analysis because it creates difficulties with apportioning damages. (Hr' g
Tr. 54:4-8.) That argument overcomplicates the plaintiffs' allegations. Consider a contractor who
bought a door for a home renovation. In that scenario, only the contractor-not the homeowner
for whom the contractor completed the renovation-would have a claim for damages based on the
sale of that door under state law as an indirect purchaser. The plaintiffs do not seek to recover
twice for the sale of the same door. In any event, the defendants have not identified any specific
challenges with apportioning damages that would justify dismissal of the state antitrust claims
under AGC. See In re Lithium Ion Batteries Antitrust Litig., No. 13-md-2420, 2014 WL 4955377,
at* 15 (N.D. Cal. Oct. 2, 2014) ("[D]efendants have failed to articulate, with specificity, why the
measurement of plaintiffs' damages would be unascertainable and why this Court would lack the
capacity to scrutinize the evidence and resolve complex issues of damages apportionment.").
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more directly impacted by the alleged violation;" (4) "[t]he speculative nature of the damage

claims;" and (5) "[t]he risk of duplicative recovery and danger of complex apportionment of

damages." Id. at *18-20. In the absence of any contrary authority, the Court will consider Crouch

to inform its prediction that the Supreme Court of North Carolina would apply the same five-factor

test to determine whether indirect purchaser plaintiffs have antitrust standing.            See In re

Refrigerant, 2013 WL 1431756, at *3 7-40.

        With respect to the first factor, the plaintiffs bought IMDs from distributors, so they qualify

as consumers in the allegedly restrained market. The second and third Crouch factors mirror the

third and fourth A GC factors, which weigh in favor of granting standing. The fourth and fifth

Crouch factors mirror the fifth AGC factor. Based on the Court's analysis of the related AGC

factors, the plaintiffs have satisfied the fourth and fifth Crouch factors. Because the plaintiffs pass

North Carolina's antitrust standing test, the Court will deny the motion to dismiss the North

Carolina antitrust claim for lack of antitrust standing.

                                  ii. States Applying the A GC Test

                                              California

       Two California appellate courts have applied the A GC test. See Wholesale Electricity

Antitrust Cases I & II, 55 Cal. Rptr. 3d 253, 265 (Ct. App. 2007); Vinci v. Waste Mgmt., Inc., 43

Cal. Rptr. 2d 337, 339 (Ct. App. 1995). The Court thus will apply the AGC test to the California

antitrust claim. See Salveson v. JP Morgan Chase & Co., 166 F. Supp. 3d 242, 259 (E.D.N.Y.

2016) (applying AGC to a California antitrust claim). As discussed above, the plaintiffs pass the




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A GC test. The Court, therefore, will deny the motion to dismiss the California antitrust claim for

lack of antitrust standing.

                                              New York

        Similarly, a New York appellate court affirmed a trial court's decision applying AGC. See

Ho v. Visa US.A., Inc., No. 112316/00, 2004 WL 1118534, at *2 (Sup. Ct. 2004), a.ff'd, 793

N.Y.S.2d 8 (App. Div. 2005). The Court will defer to the Ho decision and apply AGC to the New

York antitrust claim. See In re Dairy Farmers ofAm., Inc. Cheese Antitrust Litig., No. 9 CV 3690,

2015 WL 3988488, at * 13-14 (N.D. Ill. June 29, 2015) (applying AGC to a New York antitrust

claim). Accordingly, the Court will deny the motion to dismiss the New York antitrust claim.

                                              Michigan

        In Stark v. Visa US.A. Inc., a Michigan trial court applied AGC to an indirect purchaser

plaintiff. No. 03-055030-CZ, 2004 WL 1879003, at *2-4 (Mich. Cir. Ct. July 23, 2004). The

Court assumes that the Michigan Supreme Court would apply AGC to determine whether an

indirect purchaser has antitrust standing. See Dairy Farmers, 2015 WL 3988488, at *10 (applying

AGC to a Michigan antitrust claim). Accordingly, the Court will deny the motion to dismiss the

Michigan antitrust claim.

                                       iii. Arizona and Oregon

       The state legislatures in Arizona and Oregon have enacted harmonization statutes

instructing courts to interpret state antitrust statutes in accordance with federal law. See Ariz. Rev.

Stat. Ann. § 44-1412; Or. Rev. Stat. § 646. 715(2). Accordingly, the Court will apply the AGC test

to the antitrust claims asserted under antitrust laws of Arizona and Oregon. See In re Refrigerant,

2013 WL 1431756 at *41 (applying AGC to claims asserted under the laws of states that have




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enacted antitrust harmonization statutes). The Court, therefore, will deny the motion to dismiss

the Arizona and Oregon antitrust claims for lack of antitrust standing.

                                              iv. Tennessee

        Tennessee courts look to interpretations of federal antitrust law for guidance in interpreting

Tennessee's antitrust law. See State ex rel. Leech v. Levi Strauss & Co., No. 79-722-111, 1980 WL

4696, at *2 n.2 (Tenn. Ch. Ct. 1980) ("Authorities which define the character of private damage

suits under the federal anti-trust statutes ... are most persuasive."); see also Rockholt Furniture,

Inc. v. Kincaid Furniture Co., No. l:96-cv-688, 1998 WL 1661384, *7 (E.D. Tenn. 1998). Absent

authority to the contrary, the Court will apply AGC to the Tennessee antitrust claim. Accordingly,

the Court will deny the motion to dismiss the Tennessee antitrust claim for lack of antitrust

standing.

                             b. Failure to Comply with Notice Provisions

        The defendants argue that the Court should dismiss the plaintiffs' Arizona and New York

antitrust claims for failure to comply with state notice requirements. See Ariz. Rev. Stat. § 44-

l 4 l 5(A); N.Y. Gen. Bus. Law § 340(5). Both states require plaintiffs in antitrust class action

litigation to notify the state attorneys general before or within three days of filing a complaint. Id.

Courts are split on the effect of state notice provisions in federal court. Compare In re Lipitor

Antitrust Litig., 336 F. Supp. 3d 395, 415-16 (D.N.J. 2018) (finding that state notice provisions

apply in federal court), with In re Broiler Chicken Antitrust Litig., 290 F. Supp. 3d 772, 817 (N.D.

Ill. 2017) (declining to dismiss claims for failure to comply with notice provisions when the

plaintiffs filed late notices with state attorneys general).

        Here, the plaintiffs sent notice letters to the attorneys general of Arizona and New York on

December 14, 2018-one day after the statutes require notice. The defendants have not presented



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any evidence of prejudice or that the attorneys general have sought to intervene. The Court

declines to dismiss the Arizona and New York claims on this basis alone. The defendants cannot

use state notice provisions as a "shield to avoid answering for alleged anti-competitive behavior."

In re Aftermarket Filters Antitrust Litig., No. 08-c-4883, 2009 WL 3754041, at *6 (N.D. Ill. Nov.

5, 2009). Accordingly, the Court will deny the defendants' motion to dismiss the Arizona and

New York antitrust claims for failure to comply with the state notice provisions.

                                 3. Consumer Protection Claims

       The defendants argue that the plaintiffs ( 1) failed to plead their consumer protection claims

with particularity, and (2) did not comply with specific provisions of certain states' consumer

protection laws.

                   a. Pleading Standard for State Consumer Protection Claims

        The plaintiffs' consumer protection claims include the following allegation: "Defendants

have engaged in unfair competition or unfair, unconscionable, deceptive or fraudulent acts or

practices in violation of [a state statute]." (Dk. No. 56, at   11 226-54   (emphasis added.)) The

defendants argue that including this assertion constitutes a "specific averment of fraud," so the

plaintiffs must meet Rule 9(b)'s particularity standard. (Dk. No. 69, at 19, 3:18-cv-850.)

        The defendants misconstrue the plaintiffs' allegations.     To determine whether a claim

"sounds in fraud" and thus implicates Rule 9(b), courts consider the "substance of plaintiffs'

allegations." Cozzarelli v. Inspire Pharms. Inc., 549 F.3d 618, 629 (4th Cir. 2008). Here, the

plaintiffs have sued the defendants based on an alleged nationwide price-fixing conspiracy.

Although the plaintiffs include "fraud" or "deception" among a disjunctive list of other potential

consumer protection violations, they do not base each claim on fraudulent conduct. Accordingly,

the Court denies the motion to dismiss to the extent that the defendants ask the Court to dismiss



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each consumer protection claim for failure to comply with Rule 9(b). The Court thus examines

the sufficiency of the plaintiffs' allegations on a state-by-state basis.

                                             i. California

        The plaintiffs assert that "Defendants have engaged in unfair competition or unfair,

unconscionable, deceptive or fraudulent acts or practices in violation of [California law.]" (Dk.

No. 56, at lr 228, 3: l 8-cv-850.) The plaintiffs specifically invoke the "fraud" prong of California's

consumer protection law: "Defendants' acts and practices are fraudulent or deceptive within the

meaning of Section 17200 of the California Business and Professions Code." (Id. at Ir 228(t).)

        "To state a claim under the 'fraud' prong of§ 17200, a plaintiff must allege facts showing

that members of the public are likely to be deceived by the alleged fraudulent business practice."

Antman v. Uber Techs., Inc., No. 3:15-cv-1175-LB, 2015 WL 6123054, at *6 (N.D. Cal. Oct. 19,

2015). "Claims under the fraud prong of the UCL are subject to the particularity requirements of

Federal Rule of Civil Procedure 9(b)." In re Anthem, Inc. Data Breach Litig., No. 15-MD-2617-

LHK, 2016 WL 3029783, at *34 (N.D. Cal. May 27, 2016). 17 A plaintiff, therefore, must plead

"the time, place, and contents of the false representations, as well as the identity of the person

making the misrepresentation and what he obtained thereby." Harrison v. Westinghouse Savannah

River Co., 176 F .3d 776, 784 (4th Cir. 1999). "Additionally, 'a plaintiff stating a claim under the

'fraud' prong must plead actual reliance."' Anthem, 2016 WL 3029783, at *34 (quoting Carrier,

78 F. Supp. 3d at 1111).




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   The UCL "allows plaintiffs to bring claims for unfair, unlawful, or fraudulent business
practices." Antman, 2015 WL 612304, at *6. To the extent that the plaintiffs are proceeding under
the "unfair" or "unlawful" prongs of the UCL, Rule 9(b) does not apply. See Anthem, 2016 WL
3029783, at *33-34.

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       The plaintiffs generally allege that the defendants "provided their customers for Interior

Molded Doors with pretextual justifications for price increases in the letters they sent announcing

those price increases." (Dk. No. 56, at fr 175, 3:18-cv-850.) The plaintiffs, however, do not plead

"the time, place, and contents of the false representations," Harrison, 176 F.3d at 784, "the identity

of the person making the misrepresentation," id., or "actual reliance" pursuant to the UCL.

Because the plaintiffs do not plead fraud with particularity, the Court dismisses without prejudice

the plaintiffs' California consumer protection claim to the extend that it relies on fraud.

                                            ii. Michigan

       The plaintiffs allege that "Defendants have engaged in unfair competition or unfair,

unconscionable, deceptive or fraudulent acts or practices in violation of [Michigan law]." (Dk.

No. 56, at fr 236.) The Michigan Consumer Protection Act ("MCPA") "is much more narrowly

circumscribed" than the consumer protection laws of other states. In re Packaged Seafood Prods.

Antitrust Litig., 242 F. Supp. 3d 1033, 1076 (S.D. Cal. 2017). "[T]he only manner in which

Plaintiffs may assert a violation of the MCP A is through fraud, and therefore Rule 9(b)' s

heightened pleading standard applies." Id

       "To validly plead a fraud-based cause of action under the MCPA, a plaintiff must plead

'with particularity that [a defendant] employed fraudulent and deceptive means with the intent to

deceive[,]' and that the plaintiff 'relied on such deceptive conduct when making a purchase."' Id

(quoting In re Suboxone (Buprenorphine Hydrochloride & Naloxone) Antitrust Litig., 64 F. Supp.

3d 665, 701 (E.D. Pa. 2014)) (alterations in original). "Reliance and causation may be satisfied

under the Michigan consumer protection law by demonstrating that plaintiffs purchased and

consumed the product." Suboxone, 64 F. Supp. 3d at 701. Because the plaintiffs do not plead




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fraud with particularity, the Court will dismiss without prejudice the plaintiffs' Michigan consumer

protection claim.

                                            iii. Minnesota

       Regarding their Minnesota consumer protection claim, the plaintiffs contend that

"Defendants have engaged in unfair competition or unfair, unconscionable, deceptive or fraudulent

acts or practices in violation of [Minnesota law]." (Dk. No. 56, at Ir 237, 3:18-cv-850.) "[D]istrict

courts that have addressed the issue are of one mind-Rule 9(b) applies to any claim under

Minnesota's consumer fraud provisions." Packaged Seafood, 242 F. Supp. 3d at 1078. The

plaintiffs do not plead fraud with particularity. The Court, therefore, will dismiss without prejudice

the plaintiffs' Minnesota consumer protection claim

                                             iv. New York

        With respect to their New York consumer protection claim, the plaintiffs allege that "[t]he

conduct of the Defendants ... constitutes consumer-oriented deceptive acts or practices within the

meaning of [New York law]." (Dk. No. 56, at ,r 244(f), 3:18-cv-850.) According to the plaintiffs,

"Defendants made public statements about the prices of Interior Molded Doors that Defendants

knew would be seen by New York consumers; such statements either omitted material information

... or affirmatively misrepresented the real cause of price increases for Doors." (Id. at ,r 244(b).)

        "Under [New York's consumer protection law], specific allegations of deceptive conduct

are essential to state a claim. A plaintiff is required to plead with specificity the allegedly deceptive

acts or practices that form the basis of a claim under the Consumer Protection Act." In re Packaged

Ice Antitrust Litig., 779 F. Supp. 2d 642, 666 (E.D. Mich. 2011) (dismissing a claim under§ 349

for failure to "allege any deceptive conduct ... with the required particularity even if an allegation

of deception could be gleaned from the [complaint]"). As explained above, the plaintiffs do not



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allege deceptive conduct with particularity. Accordingly, the Court will dismiss without prejudice

the New York consumer protection claim.

                                          v. North Carolina

         Regarding the North Carolina consumer protection claim, the plaintiffs allege that

"Defendants have engaged in unfair competition or unfair, unconscionable, deceptive or fraudulent

acts or practices in violation of [North Carolina law]." (Dk. No. 56, at ,r 245, 3:l 8-cv-850.) The

plaintiffs further contend that "Defendants publicly provided pre-textual and false justifications

regarding their price increases." (Id. at ,r 245(b).)

         To state a claim under the North Carolina Unfair and Deceptive Trade Practices Act

("UDTPA"), a plaintiff may either plead (1) a per se violation of the statute, or (2) plead a prima

facie violation under one of two theories: (a) "unfair methods of competition," or (b) "unfair or

deceptive acts or practices." In re Processed Egg Prods. Antitrust Litig., 851 F. Supp. 2d 867,

909-11 (E.D. Pa. 2012).

         "[A] violation of the Sherman Act constitutes aper se violation of [the UDTPA]." Id. at

911. Here, when viewed in the light most favorable to the plaintiffs, the defendants' alleged federal

antitrust violation constitutes the basis for their UDTP A claim. Because the plaintiffs plead a per

se violation of the UDTP A, the Court need not impose the heightened pleading standard of Rule

9(b). See id. (declining to dismiss a claim under the UDTPA for failure to comply with Rule 9(b)).

Accordingly, the Court will deny the motion to dismiss the North Carolina consumer protection

claim.

                         vi. States with FTC Act Harmonization Provisions

         The consumer protection statutes of many states contain a Federal Trade Commission

("FTC") Act harmonization provision. "[T]he Supreme Court has construed the FTC Act, on



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which many state consumer protection laws are modeled, to broadly cover unfair trade practices."

Zetia, 2019 WL 1397228, at *29 (citing FTC v. Ind. Fed'n ofDentists, 476 U.S. 447,454 (1986)).

Rule 9(b) does not apply to allegations based on "unfair methods of competition" under the FTC

Act. See, e.g., FTC v. Innovative Mktg., 654 F. Supp. 2d 378, 388-89 (D. Md. 2009) (holding that

Rule 9(b) does not apply to claims under§ 5(a) of the FTC Act). "The standard of 'unfairness'

under the FTC Act ... emcompass[es] ... practices that violate the Sherman Act and the other

antitrust laws." Ind. Fed'n of Dentists, 476 U.S. at 454. The consumer protection laws of the

following states contain FTC Act harmonization provisions 18 :

        Arizona. "Arizona's consumer protection law, as amended in 2013, prohibits 'unfair'

practices and contains an FTC Act harmonization provision." Zetia, 2019 WL 1397228, at *29.

Because Arizona's amended consumer protection statute "broadly covers unfair trade practices,"

Zetia, 2019 WL 3761680, at *13, the plaintiffs need not rely on a theory of fraud. Rule 9(b) does

not apply to the Arizona claim, so the Court will deny the motion to dismiss the Arizona consumer

protection claim.

        Florida. The Florida Deceptive and Unfair Trade Practices Act ("FDUTP A") prohibits

"[u]nfair methods of competition, unconscionable acts or practices, and unfair or deceptive acts or

practices in the conduct of any trade or commerce." Fla. Stat. § 501.204( 1). A "deceptive act or

practice" "encompasses antitrust violations because 'the acts proscribed by subsection 501.204(1)

include antitrust violations."' Processed Egg, 851 F. Supp. 2d at 900 (quoting Mack v. Bristo/-

Myers Squibb Co., 673 So. 2d 100, 104 (Fla. Dist. Ct. App. 1996)). Because "Florida law



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   See Ariz. Rev. Stat. Ann.§ 44-1522; Fla. Stat.§ 501.204(1); Mass. Gen. Laws ch. 93(A), § 2(b);
S.C. Code Ann.§ 39-5-20(b). The Illinois Consumer Fraud and Deceptive Business Practices Act
also contains an FTC Act harmonization provision. See 815 Ill. Comp. Stat. Ann. § 505/2. As
explained below, see supra Part III.BJ .b.iii, the Court will dismiss the Illinois consumer protection
claim on other grounds.

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recognizes that a FDUTP A claim may arise from a violation of antitrust laws such as the Sherman

Act and other state antitrust laws," id., the plaintiffs need not rely on fraud. Thus, the Court will

deny the motion to dismiss the Florida consumer protection claim for failure to comply with Rule

9(b).

        Massachusetts. The Supreme Judicial Court of Massachusetts has "wholly incorporated"

the FTC Act into its consumer protection statute. Slaney v. Westwood Auto, Inc., 322 N.E.2d 768,

773 n.8 (Mass. 1975). The Massachusetts consumer protection statute, see Mass. Gen. Laws, ch.

93(A), "defines unfair acts or practices by reference to interpretations of those terms in the [FTC]

Act." Kraft Power Corp. v. Merrill, 981 N.E.2d 671, 683 (2013). "[B]ecause Massachusetts has

folded the FTC Act into Chapter 93A, unfair or deceptive conduct that violates the FTC Act also

violates Chapter 93A." McDermott v. Marcus, Errico, Emmer & Brooks, P.C., 775 F.3d 109, 122

(1st Cir. 2014). Rule 9(b) does not apply to an allegation of unfair conduct, so the Court will deny

the motion to dismiss the Massachusetts consumer protection claim for failure to comply with Rule

9(b).

        South Carolina. The South Carolina Unfair Trade Practices Act ("SCUTPA") prohibits

"unfair methods of competition and unfair or deceptive acts or practices within the conduct of any

trade or commerce." S.C. Code Ann. § 39-5-209(a). The SCUTPA "provides that courts shall be

guided by the FTC [Act] and federal court interpretation." Liberty Mut. Ins. Co. v. Emp. Res.

Mgmt., Inc., 176 F. Supp. 2d 510, 515 (D.S.C. 2001). Thus, Rule 9(b) does not apply to the

plaintiffs' South Carolina consumer protection claim. The Court will deny the motion to dismiss

that claim for failure to comply with Rule 9(b).




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                               vii. Arkansas, Oregon, and Tennessee

        A plaintiff may state a claim under the Arkansas, Oregon, and Tennessee consumer

protection statutes without relying on fraud. See Ark. Code Ann. § 4-88-107(a)(l 0) (prohibiting

"unconscionable, false, or deceptive act[ s] or practice[ s] in business, commerce, or trade"); Or.

Rev. Stat.§ 646.608 (prohibiting "unfair or deceptive conduct in trade or commerce"); Tenn. Code

§ 4 7-18-104 (prohibiting "[u ]nfair or deceptive acts or practices affecting the conduct of any trade

or commerce").     Here, the plaintiffs do not allege fraud under their Arkansas, Oregon, and

Tennessee consumer protection claims. Accordingly, the Court will deny the motion to dismiss

the Arkansas, Oregon, and Tennessee consumer protection claims for failure to comply with Rule

9(b).

               b. State-Specific Provisions Governing Consumer Protection Claims

        The defendants assert various additional objections with respect to the Arkansas, Florida,

Illinois, and Massachusetts consumer protection claims.

                                             i. Arkansas

        The defendants contend that the plaintiffs failed to plead reliance as Arkansas's consumer

protection law requires. The plaintiffs respond that they base their consumer protection claim on

their antitrust allegations and not the Arkansas Deceptive Trade Practices Act (ADTP A). But the

complaint specifically alleges a violation of the ADTP A pursuant to Arkansas Code § 4-88-107.

        An amended version of the ADPTA went into effect on August 1, 2017. "Under this

version, a plaintiff 'must prove individually that he or she suffered an actual financial loss

proximately caused by his or her reliance on the use of a practice declared unlawful under this

chapter."' In re Restasis (Cyclosporine Opthalmic Emulsion) Antitrust Litig., 355 F. Supp. 3d 145,




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153 (E.D.N.Y. 2018) (quoting Ark. Code Ann.§ 4-88-113(f)(2)). "Reliance, however, was not an

element of the former version of the ADTPA." Id. at 153.

       Because "the amended version of the ADTPA is not retroactive," id., the plaintiffs state a

viable claim for purchases before August 1, 2017. The plaintiffs, however, do not plead reliance

as the amended version of the ADTPA requires. Accordingly, the Court will dismiss without

prejudice the Arkansas consumer protection claim to the extent that the claim includes purchases

that occurred after August 1, 2017. The Court will deny the motion to dismiss for purchases that

occurred before August 1, 2017.

                                             ii. Florida

       First, the defendants argue that the plaintiffs cannot use an underlying antitrust violation to

state a claim under Florida's consumer protection law. But as the Court explained above, see supra

Part 111.B.3 .a. vi, "Florida law recognizes that a FDUTP A claim may arise from a violation of

antitrust laws such as the Sherman Act," Processed Egg, 851 F. Supp. 2d at 900.

       Second, the defendants contend that the plaintiffs did not sufficiently allege intrastate

anticompetitive conduct. That argument also fails. "[T]here is simply no language in the FDUTP A

implying a limitation of its scope to harm taking place within Florida alone." Sheet Metal Workers

Local 441 Health & Welfare Plan v. GlaxoSmithKline, PLC, 737 F. Supp. 2d 380, 409 (E.D. Pa.

2010) (noting that the FDUTPA "proscribes unfair and unconscionable business practices 'in the

conduct of any trade or commerce"' (quoting Fla. Stat. § 501.204(1)); see also In re Generic

Pharm. Pricing Antitrust Litig., 368 F. Supp. 3d 814, 845 (E.D. Pa. 2019) (finding that the

plaintiffs' "allegations of a broad nationwide-scheme to fix generic drug prices [were] sufficient

to satisfy the intrastate pleading requirements" under various state consumer protection laws,




                                                40
including Florida). Accordingly, the Court will deny the motion to dismiss the Florida consumer

protection claim.

                                             iii. Illinois

       The defendants argue that the plaintiffs cannot use an underlying antitrust violation to state

a claim under the Illinois Consumer Fraud and Deceptive Business Practices Act. The Illinois

Supreme Court has held that "[t]here is no indication that the legislature intended that the

Consumer Fraud Act be an additional antitrust enforcement mechanism." Laughlin v. Evanston

Hosp., 550 N.E.2d 986, 993 (Ill. 1990); see Packaged Seafood, 277 F. Supp. 3d at 1178 (citing

Laughlin and dismissing an Illinois consumer protection claim based on an underlying antitrust

violation). Here, the plaintiffs base their Illinois consumer protection claim on the same price-

fixing conspiracy as their antitrust claims. The Court, therefore, will dismiss with prejudice the

Illinois consumer protection claim.

                                         iv. Massachusetts

       The defendants argue that the plaintiffs do not sufficiently allege intrastate anticompetitive

conduct under the Massachusetts consumer protection statute. For the same reasons that the

plaintiffs satisfy the intrastate nexus requirement with respect to their Florida consumer protection

claim, they also satisfy that requirement regarding their Massachusetts consumer protection claim.

See In re Solodyn (Minocycline Hydrochloride) Antitrust Litig., No. 14-md-2503, 2015 WL

5458570, at *16 (D. Mass. Sept. 16, 2015) (finding allegations of a nationwide price-fixing

conspiracy sufficient to allege intrastate anticompetitive conduct under the Massachusetts

consumer protection statute); In re Auto. Parts Antitrust Litig., 29 F. Supp. 3d 982, 1010-11 (E.D.

Mich. 2014) (same). Accordingly, the Court will deny the motion to dismiss the Massachusetts

consumer protection claim.



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                                   4. Uniust Enrichment Claims

       The plaintiffs' remaining unjust enrichment claims fall under the laws of Arizona,

Arkansas, California, Florida, Illinois, Massachusetts, Michigan, Minnesota, Mississippi, New

York, North Carolina, Oregon, South Carolina, and Tennessee. The defendants argue that the

plaintiffs (1) cannot claim unjust enrichment to get around various states' antitrust-related bars to

recovery, and (2) do not plead specific elements of unjust enrichment.

                        a. Arkansas, Florida, Illinois, and South Carolina

       The defendants argue that the plaintiffs cannot use state unjust enrichment laws to get

around the Illinois Brick bar on indirect purchaser claims in states without an "Illinois Brick

repealer."   Arkansas, Florida, Illinois, and South Carolina have not enacted "Illinois Brick

repealers." "[T]he majority of courts" have found that indirect purchasers "cannot circumvent the

Illinois Brick prohibition absent authority from the courts of those states that would allow unjust

enrichment claims to proceed." In re Lidoderm Antitrust Litig. (Lidoderm I), 103 F. Supp. 3d 1155

(N.D. Cal. 2015); accord Zetia, 2019 WL 1397228, at *36.

       The plaintiffs may not circumvent a state's bar to antitrust recovery for indirect purchasers

by couching their allegations as unjust enrichment claims. Accordingly, the Court will dismiss

with prejudice the Arkansas, Florida, Illinois, and South Carolina unjust enrichment claims.

                                         b. Massachusetts

       The Supreme Judicial Court of Massachusetts has held that indirect purchaser plaintiffs

can recover for antitrust violations under its state consumer protection laws. See Ciardi v. F.

Hoffman-La Roche, Ltd., 436 Mass. 53, 63 (2002). "While Massachusetts bars indirect purchasers

from bringing claims under its antitrust law ... , Massachusetts does not bar indirect purchaser

standing under its consumer protection act." In re Flonase Antitrust Litig. (Flonase II), 692 F.



                                                 42
Supp. 2d 524, 545 (E.D. Pa. Jan. 21, 2010). In Flonase IL the court denied a motion to dismiss

indirect purchaser plaintiffs' Massachusetts unjust enrichment claim. The Court, therefore, will

deny the motion to dismiss the Massachusetts unjust enrichment claim.

                                            c. California

       Unjust enrichment does not amount to an independent cause of action in California. See

Lidoderm, 103 F. Supp. 3d at 1176 ("[T]he weight of authority in California state and federal court

decisions is that unjust enrichment does not state an independent claim under California law.").

Instead, unjust enrichment is a "general principle, underlying various legal doctrines and

remedies." McBride v. Boughton, 123 Cal. Rptr. 3d 115, 121 (Ct. App. Oct. 21, 2004). Thus, the

Court will dismiss with prejudice the California unjust enrichment claim.

                   d. Failure to Plead Specific Elements of Unjust Enrichment

       The defendants argue that the plaintiffs fail to plead the specific elements under each state's

unjust enrichment law. The plaintiffs respond that they need only plead the general elements of

an unjust enrichment claim because "the elements of unjust enrichment are materially the same

throughout the United States." (Dk. No. 75, at 22, 3:18-cv-850). The plaintiffs plead unjust

enrichment by incorporating and realleging their allegations in the preceding paragraphs of the

complaint.

       "At minimum, an unjust enrichment plaintiff must ordinarily allege receipt of a benefit by

the defendant at plaintiff's expense and 'that it would be inequitable or unjust for defendant to

accept and retain the benefit."' Zetia, 2019 WL 1397228, at *35 (quoting Flonase II, 692 F. Supp.

2d at 541 ). Viewed in the light most favorable to the plaintiffs, the complaint alleges that (1) the

defendants received a benefit by unlawfully inflating prices based on a price-fixing conspiracy, (2)




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at the plaintiffs' expense,and (3) under circumstances that would make it unjust for the defendants

to retain that benefit without paying for it.

        The plaintiffs' failure to re-plead the elements of unjust enrichment does not merit

the wholesale dismissal of each unjust enrichment claim. See id ("Requiring recharacterization

of every allegation into an unjust enrichment framework would create needlessly

repetitive pleading.").    Indeed, unjust enrichment laws are "materially the same throughout

the United States." Singer v. AT&T Corp., 185 F.R.D. 681,692 (S.D. Fla. 1998). The Court

will deny the motion to dismiss the Arizona, Massachusetts, Michigan, Minnesota,

Mississippi, New York, North Carolina,Oregon,and Tennessee unjust enrichment claims.

                            5. Claims Outside the Statutes ofLimitations

        The defendants contend that the statutes of limitations of the following states partially bar

the remaining state claims: Arizona, California, Michigan, Minnesota, Mississippi,New York,

North Carolina, Oregon, and Tennessee. 19 The plaintiffs argue that the discovery rule tolls their

claims. The discovery rule "tends to operate when a plaintiff does not know,or could not through

the exercise of reasonable diligence know,of the wrong." Processed Egg, 931 F. Supp. 2d at 657

(internal alterations omitted). As explained above, see supra Part 111.A.2, the plaintiffs did not

show reasonable diligence here. The plaintiffs thus cannot rely on the discovery rule.

        The statutes of limitations under Arizona, California, Michigan, Minnesota, New York,

North Carolina, and Oregon law impose a four-year bar on recovery.20 Accordingly, the Court

will dismiss with prejudice the plaintiffs' antitrust claims under the laws of Arizona, California,


19
   As explained above,see supra Part 111.A.2,the plaintiffs cannot invoke the doctrine of fraudulent
concealment to toll their claims.
20
   See Ariz. Rev. Stat. § 44-1410; Cal. Bus. & Prof. Code § 16750.1; Mich. Comp. Laws
§ 445.781(2); Minn. Stat.§ 325D.64; N.Y. Gen. Bus. Law§ 340; N.C. Gen. Stat.§ 75-16.2; Or.
Rev. Stat.§ 646.800(1)-(2).
                                                 44
Michigan, Minnesota, New York, North Carolina, and Oregon to the extent that the plaintiffs seek

to recover damages for injuries outside the four-year time bar.

         The statutes of limitations under Mississippi and Tennessee law impose a three-year bar

on recovery.21 Accordingly, the plaintiffs cannot recover damages for injuries outside the three-

year time bar for their claims under those state laws. The Court, therefore, will dismiss with

prejudice the plaintiffs' antitrust claims under the laws of Mississippi and Tennessee to the extent

that the plaintiffs seek to recover damages outside the three-year time bar.

                                         IV. CONCLUSION

         For the foregoing reasons, the Court will grant in part and deny in pa.it the defendants'

motions to dismiss. The Court summarizes its rulings as to the indirect purchaser plaintiffs' claims

in the attached Exhibit.

         To the extent that the indirect purchaser plaintiffs believe that they can cure the deficiencies

with respect to their Arkansas, California, Michigan, Minnesota, or New York consumer

protection claims, the p laintiffs may move for leave to amend within fomteen (14) days of this

Opinion and Order. The plaintiffs may file a five-page brief explaining how the amendments

would cure the deficiencies.      The plaintiffs shall attach as an exhibit the proposed amended

paragraphs of the complaint (not the entire complaint). The defendants may file a five-page

response brief within fourteen (14) days thereafter.

          The Court will enter an appropriate Order.

          Let the Clerk send a copy of this Opinion to all counsel of record.


Date:       fii
            September 20 19                                                      Isl
Richmond, VA                                                    John A. Gibney, Jr.
                                                                United States Dis


21
     See Miss. Code Ann. § 15-1-49; Tenn. Code Ann. § 28-3-1 05.

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